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AO 91 (Rev 8/01) FASE (70
United States District Court

 

 

 

SOUTHERN DISTRICT OF TEXAS
UNITED STATES OF AMERICA guleAStatenDistriREviE jon
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Vv. TRIER Of Tex88 CRIMINAL COMPLAINT
Yessica Yadira LOPEZ-Juarez F , Case Number: M-20- Wp -M
213446968 EB 13 2029
YOB: 1989
COC: Mexico David J. Bradley, Clerk
I the undersigned complainant, state the following is true and correct to the best of my
knowledge and belief. On or about February 18, 2020 in STARR County, in
the Southern District of Texas defendant(s) did,

 

knowing or in reckless disregard of the fact that M.A.M.A., a citizen of Mexico, has come to, entered, or
remains in the United States in violation of law, transports, or moves or attempts to transport or move such alien
within the United States from a location in the Roma, Texas Port of Entry to a location in Roma, Texas, in
furtherance of such violation of law and brought the alien for the purpose of commercial advantage or private
financial gain,

in violation of Title 8 United States Code, Section(s) _1324(a)(.)(A)Gi) & 1324(a)(2)(B)Gi)_
I further state that [am a(n) _Customs and Border Protection Officer_ and that this complaint is based on the
following facts:

 

On February 18, 2020, Yessica Yadira LOPEZ-Juarez, a Mexican citizen with a United States Border
Crossing Card, and driver of a vehicle, attempted to transport into the United States through the Roma, Texas
Port of Entry an undocumented alien (male, age 28), an actual Mexican Citizen, as a United States Border
Crossing card holder through means of document false statement. In order to deceive United States Customs
and Border Protection officers, the defendant presented a United States Border Crossing Card bearing the
name R.E.R., date of birth 05/11/1976, at vehicle primary lane. Vehicle was referred to secondary and, during
secondary inspection, defendant LOPEZ-Juarez freely admitted that she attempted to smuggle passenger
M.A.M.A. into the United States, from the Roma, Texas Port of Entry to Roma, Texas, by presenting the
defendant's husband's Border Crossing Card and that M.A.M.A. is an undocumented alien. The defendant
further stated that M.A.M.A. was not her husband and knew that M.A.M.A. did not have legal status to be in
the United States, but the defendant admitted to having agreed to transport M.A.M.A. to the United States for
private financial gain. The defendant intended on using the United States Border Crossing Card to further
M.A.M.A.'s illegal entry into the United States.

Continued on the attached sheet and made a part of this complaint: [| Yes No

Sworn to before me and subscribed in my presence,

 

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Signet feoFC mplainant

 

 

 

Approved By AUSA: Amy L Greenbaum 21 142020 Alejandro Pefia CBPO-Enforcement
lug gern — Printed Name of Complainant
February 19, 2020 at McAllen, Texas __
Date City and State

J. Scott Hacker

U.S. Magistrate Judge na ———-

Name and Title of Judicial Officer eee
